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                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA


  MCARTHUR GRIFFIN                                                                     CIVIL ACTION

  VERSUS
                                                                                       NO. 20-92-BAJ-EWD
  REC MARINE LOGISTICS,
  LLC, ET AL.
                                                          ORDER

             The Joint Motion for Continuance and Amended Rule 16 Scheduling Order1 is GRANTED

  for good cause shown. The previously issue scheduling order is hereby amended as follows:2

             1.       The deadline to join other parties or to file a motion for leave to amend the pleadings
                      is EXPIRED.

             2.       Discovery must be completed as follows:

                      a.        Exchanging initial disclosures required by F.R.C.P. 26(a)(1): N/A

                      b.        Filing all discovery motions and completing all discovery except experts:
                                August 21, 2021

                      NOTE: Any motions filed regarding discovery must be accompanied by a
                      certificate of counsel for the moving party, stating that counsel have conferred in
                      person or by telephone for purposes of amicably resolving the issues and stating
                      why they are unable to agree or stating that opposing counsel has refused to so
                      confer after reasonable notice. If a motion involves written discovery, the motion
                      must also specifically state which requests are being objected to and the basis of
                      each objection.

                      c.        Disclosure of identities and resumés of experts:
                                Plaintiff(s):          May 30, 2021
                                Defendant(s):          June 30, 2021

                      d.        Expert reports must be submitted to opposing parties as follows:
                                Plaintiff(s):         June 30, 2021
                                Defendant(s):         July 30, 2021

                      e.        Discovery from experts must be completed by August 31, 2021


  1
      R. Doc. 68.
  2
      Prior deadlines are restated here for ease of reference unless expired. All new deadlines are indicated in bold type.



jury
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         3.       Deadline to file dispositive motions and Daubert motions: September 30,
                  2021

         4.       Deadline to file pre-trial order: December 27, 20213

         5.       Deadline to file motions in limine: January 21, 2022. Responses to motions in
                  limine shall be filed within the time period provided by the local rules.

         6.       Deadline to file an affidavit of settlement efforts: February 4, 2022.

         7.       Pre-trial conference date: January 13, 2022 at 3:00 p.m. in the chambers of the
                  Honorable Brian A. Jackson.

         8.       Deadline to submit joint jury instructions, voir dire, verdict forms, and trial briefs
                  to the presiding judge: February 25, 2022

                  The information regarding the Honorable Brian A. Jackson’s pretrial order
                  may be found on the court's website at (http://www.lamd.uscourts.gov) under
                  “Judges’ Info.”

         9.       A 5-day jury trial is scheduled for 8:30 a.m. beginning on March 21, 2022 in
                  Courtroom 2.

         The time limits set forth in this order shall not be modified except by leave of court upon

a showing of good cause. Joint, agreed or unopposed motions to extend scheduling order deadlines

will not be granted automatically. All motions to extend scheduling order deadlines must be

supported by facts sufficient to find good cause as required by Rule 16, Fed.R.Civ.P. Extensions

of deadlines governing discovery must be supported with information describing the discovery

already completed, what necessary discovery remains, the parties’ efforts to complete the

remaining discovery by the deadline, and any additional information showing that the parties have

diligently pursued their discovery. Further, a motion to extend any deadline set by this Order must

be filed before its expiration.




3
  Motions to extend or otherwise modify this date and the dates/deadlines that follow shall be directed to the district
judge.
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       Parties are directed to consult the Middle District’s Administrative Procedures which

contains additional mandatory filing rules and procedures. The Administrative Procedures are

available for viewing and download on the court’s website (http://www.lamd.uscourts.gov) under

“E-Filing,” “CM/ECF Info,” “Administrative Procedures.”

       The parties may contact the court at (225) 389-3584 should they wish to schedule a

settlement conference.

       Signed in Baton Rouge, Louisiana, on June 3, 2021.


                                           S
                                           ERIN WILDER-DOOMES
                                           UNITED STATES MAGISTRATE JUDGE
